     Case 2:24-cr-00091-ODW   Document 87    Filed 06/24/24   Page 1 of 2 Page ID #:1214



1     DAVID C. WEISS
      Special Counsel
2     LEO J. WISE
      Principal Senior Assistant Special Counsel
3     DEREK E. HINES
      Senior Assistant Special Counsel
4     SEAN F. MULRYNE
      CHRISTOPHER M. RIGALI
5     Assistant Special Counsels

6           950 Pennsylvania Avenue NW, Room B-200
            Washington, D.C. 20530
7           Telephone:      (771) 217-6091
            E-mail:    christopher.rigali2@usdoj.gov
8           Attorneys for the United States

9     Attorneys for Plaintiff
      UNITED STATES OF AMERICA
10
                               UNITED STATES DISTRICT COURT
11
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
      UNITED STATES OF AMERICA,                  No. 2:24-cr-00091-ODW
13
                 Plaintiff,                      GOVERNMENT’S APPLICATION FOR
14                                               PERMISSION TO FILE AN OVERSIZED
                       v.                        BRIEF
15
      ALEXANDER SMIRNOV,                         PROPOSED ORDER FILED SEPARATELY
16
                 Defendant.
17

18
19          Plaintiff, United States of America, by and through its counsel
20    of record, the Office of Special Counsel David C. Weiss, hereby applies
21    to this Honorable Court for permission to file an oversized brief.
22          Pursuant    to    Local   Rule   11-6.1     and    this   Court’s    required
23    procedures, “[m]emoranda of points and authorities in support of or in
24    opposition to motions shall not exceed 7,000 words.” The Court requires
25    a showing of “good cause” to “grant an application to extend these page
26    limits.”
27          The Government respectfully seeks leave of Court to file an
28    oversized brief—it’s Memorandum of Law in Support of the Government’s
     Case 2:24-cr-00091-ODW   Document 87    Filed 06/24/24    Page 2 of 2 Page ID #:1215



1     Motion for a Protective Order Pursuant to Section 4 of the Classified

2     Information Procedures Act and Federal Rule of Criminal Procedure

3     16(d)(1). See ECF No. 86 (Notice of Manual Filing). Given the quantity

4     and complexity of the issues raised in the Government’s Motion for a

5     Protective Order, the Government submits that more than 7,000 words

6     are required to adequately bring to the Court’s attention matters

7     pertaining to the discoverability of classified information.                As such,

8     the   Government    respectfully      requests    that    the   Court    grant   this

9     application, for good cause shown, and permit the Court to file an

10    oversized brief.

11

12     Dated: June 24, 2024                  Respectfully submitted,

13                                           DAVID C. WEISS
                                             Special Counsel
14
                                             LEO J. WISE
15                                           Principal Senior Assistant Special
                                             Counsel
16
                                             DEREK E. HINES
17                                           Senior Assistant Special Counsel

18                                           SEAN F. MULRYNE
                                             Assistant Special Counsel
19

20
                                             CHRISTOPHER M. RIGALI
21                                           Assistant Special Counsel

22                                           Attorneys for Plaintiff
                                             UNITED STATES OF AMERICA
23

24

25

26
27

28

                                             2
